






NO. 07-02-0222-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MAY 16, 2003



______________________________



											

OLLIE LEE PAYNE, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 69TH DISTRICT COURT OF MOORE COUNTY;



NO. 3136; HONORABLE RON ENNS, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and REAVIS, JJ.

MEMORANDUM OPINION
	Ollie Lee Payne appeals from his conviction for possession of a controlled
substance in an amount of 400 grams or more.  We affirm.



BACKGROUND

	In September, 2001, Lori Smith reported to the Dumas police that appellant Ollie
Payne had shown her a large amount of drugs in the refrigerator at the house in which
appellant lived in Dumas.  She reported that appellant told her the drugs were his and that
he took her with him one evening when he was making sales of drugs.  The police obtained
and executed a search warrant based on Smith's report.  Smith executed an affidavit which
was attached to the search warrant.

	Drugs were located in the house where appellant lived and he was arrested.  He
signed a written confession; was indicted by a Moore County grand jury for possession of
a controlled substance in an amount of 400 grams or more; was convicted; and was
sentenced to 30 years incarceration.  

	Appellant presents three issues in seeking to have his conviction reversed and a
new trial granted: (1) the trial court committed fundamental error by admitting the search
warrant and its accompanying affidavit from Smith into evidence in violation of his right to
confront and cross-examine witnesses against him; (2) the trial court committed
fundamental error by admitting the search warrant and Smith's accompanying affidavit into
evidence when no question of probable cause was before the jury; and (3) appellant was
denied effective assistance of counsel.  The State responds that admission of the warrant
and Smith's affidavit was harmless error, appellant's counsel was not ineffective, and
appellant has not shown prejudice from any of the actions allegedly demonstrating
ineffective assistance. 


ISSUE ONE: ADMISSION OF SMITH'S AFFIDAVIT

	Smith did not testify at trial.  The search warrant with Smith's affidavit attached was
introduced into evidence.  The affidavit contained statements to the effect that appellant
(1) was seeking to have sex with Smith, (2) offered to pay for her housing, (3) wanted her
to smoke pot with him, (4) took Smith with him to make drug sales in Dumas one night, (5)
planned to go to Los Angeles to pick up drugs, and (6) showed Smith drugs which were
in the refrigerator and which appellant claimed belonged to him.  Appellant objected to the
affidavit on the basis that he was unable to cross-examine Smith.  

	The State does not contest appellant's assertion that admission of Smith's affidavit
was error.  Nevertheless, the State maintains that admission of the affidavit was harmless. 
We agree. 

	In his confession appellant admitted to becoming involved in selling and delivering
drugs, mainly methamphetamine, because he could not pay his bills.  He stated that he
was "fronted" the drugs by others and would only keep part of the money he received from
selling the fronted drugs.  He denied using methamphetamine, but stated that he
occasionally smoked marijuana.  He claimed that he put the dope in the refrigerator at his
house, regretted getting involved with drugs and that he was sorry for the hurt he had
caused the people he sold drugs to.  

	The material parts of Smith's affidavit's were contained in appellant's written
confession which was admitted at trial.  Where the same evidence is admitted elsewhere
during trial no reversible error exists.  See McFarland v. State, 845 S.W.2d 824, 840
(Tex.Crim.App. 1992); Johnson v. State, 803 S.W.2d 272, 291 (Tex.Crim.App. 1990);
Anderson v. State, 717 S.W.2d 622, 628 (Tex.Crim.App. 1986).  Assuming, arguendo, that
admission of the affidavit was error and that error was preserved (1) so as to require a harm
analysis for constitutional error, see TRAP 44.2(a), we are convinced beyond a reasonable
doubt that information in the affidavit which was not also contained in appellant's
confession did not contribute to appellant's conviction.  Accordingly, we overrule issue one.

ISSUE TWO: ADMISSION OF THE SEARCH 

WARRANT AND SMITH'S AFFIDAVIT


	By his second issue appellant complains of admission of both the search warrant
and Smith's affidavit.  He urges that neither the existence of the warrant nor probable
cause was disputed at trial.  He asserts harm based on non-constitutional error because
the error violated a rule of evidence.

	When the State offered the warrant into evidence, appellant's counsel objected to
Smith's affidavit, as we have discussed above.  No objection was lodged to admission of
the warrant. 

	As to admission of the search warrant itself, error was not preserved.  See TRAP
33.1(a); TRE 103(a)(1).  We cannot reverse on a matter not presented to the trial court and
which is first raised on appeal.  See Hailey v. State, 87 S.W.3d 118 (Tex.Crim.App. 2002). 

	We have previously determined that any error in admitting Smith's affidavit was
harmless by constitutional harm standards.  For claims of non-constitutional or "other" error
under TRAP 44.2(b), a judgment should not be overturned unless after examining the
record as a whole, the reviewing court has a grave doubt that the result was free from the
substantial influence of the error on the outcome of the proceeding.  See Burnett v. State,
88 S.W.3d 633, 637-38 (Tex.Crim.App. 2002).  We do not have a grave doubt as to the
harm of Smith's affidavit in regard to appellant's conviction, for the reasons expressed in
our analysis of issue one.  Issue two is overruled.	        

ISSUE THREE: INEFFECTIVE ASSISTANCE OF COUNSEL 	Appellant cites Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d
674(1984) in presenting his third issue.  We thus consider that his issue references his
right to counsel under the Sixth Amendment to the federal constitution.  In determining
whether counsel's representation was so inadequate as to violate a defendant's Sixth
Amendment right to counsel, Texas courts adhere to the two-pronged test enunciated in
Strickland.  See Hernandez v. State, 726 S.W.2d 53, 56-7 (Tex.Crim.App. 1986).  There
is a strong presumption that counsel's conduct fell within the wide range of reasonable
professional assistance.  Strickland, 466 U.S. at 690. The burden is on appellant to prove
by a preponderance of the evidence that counsel was ineffective.  See McFarland v. State,
928 S.W.2d 482, 500 (Tex.Crim.App. 1996).  The defendant must first prove that counsel's
performance was deficient, i.e., that counsel's assistance fell below an objective standard
of reasonableness.  Id.  If appellant has demonstrated deficient assistance of counsel, it
is then necessary that appellant affirmatively prove prejudice as a result of the deficient
assistance.  Id.  In proving prejudice, appellant must prove a reasonable probability that
but for counsel's errors, the result of the proceeding would have been different.  A
reasonable probability is a probability sufficient to undermine confidence in the outcome. 
Hernandez, 726 S.W.2d at 55.  

	Any allegation of ineffective assistance of counsel must be firmly founded in the
record, and the record must affirmatively demonstrate the alleged ineffectiveness. 
McFarland, 928 S.W.2d at 500.  Failure to make the required showing of either deficient
performance or sufficient prejudice defeats the ineffectiveness claim.  Id.  Defense counsel
should ordinarily be accorded an opportunity to explain his or her actions before being
labeled as unprofessional, incompetent or ineffective.  See Bone v. State, 77 S.W.3d 828,
836 (Tex.Crim.App. 2002).

	Appellant sets out eight instances of trial conduct which he urges warrant reversal
because his counsel was ineffective.  Five of the instances complain of trial counsel's
failure to object to matters during trial, although the record does not contain evidence of
counsel's reasons for not objecting.  

	Appellant does not cite authority or make argument that if trial counsel had posed
the referenced objections, the trial court would have been in error by overruling the
objections.  To successfully present an argument that counsel was ineffective because of
a failure to object to the State's questioning and argument, however, appellant must show
that the trial court would have committed error in overruling such objection.  See Vaughn
v. State, 931 S.W.2d 564, 566 (Tex.Crim.App. 1996).   And, because the record does not
evidence trial counsel's reasons for failing to lodge the objections, a conclusion as to those
reasons would require speculation on our part - an exercise in which we decline to engage. 
The allegations of ineffectiveness for failure to object during trial are not supported by the
record.  See Bone, 77 S.W.3d at 836-37.    

	A sixth instance complained of is trial counsel's failure to interview Lori Smith.  But,
appellant points to no evidence in the record to substantiate his allegation that trial counsel
failed to interview Smith.  Nor does he point to any record evidence that an interview with
Smith would have yielded any information which would have benefitted appellant's case. 
Without such record evidence ineffectiveness of counsel is not proved.  See McFarland,
928 S.W.2d at 500.  

	The last of the instances posited as ineffective assistance are trial counsel's failures
to request an instructed verdict and an instruction limiting the jury to considering the search
warrant and Smith's affidavit for purposes of determining probable cause.  He does not cite
authority or present argument that an instructed verdict would have been granted.  Nor
does he assert how a limiting instruction as to the search warrant and Smith's affidavit
would have resulted in a different result in his trial.  See id.; Hernandez, 726 S.W.2d at 55.

	Appellant has not proved either deficient performance or sufficient prejudice to
warrant reversal on his ineffective assistance claim.  Nor does his urging ineffective
assistance because of the "multitude of deficiencies" warrant reversal.  A vague,
inarticulate sense and allegation that counsel could have provided a better defense is not
a legal basis for finding counsel constitutionally ineffective.  See Bone, 77 S.W.3d at 836.
Issue three is overruled. 

CONCLUSION

	Having overruled appellant's three issues, we affirm the judgment of the trial court. 


							Phil Johnson

							Chief Justice





Do not publish.	  










1. Because of our disposition of the issue, we do not offer any opinion on whether
appellant's objection was sufficient to preserve error.  See Tex. R. App. P. 33.1(a); Tex. R.
Evid. 103(a)(1); Barnum v. State, 7 S.W.3d 782, 794 (Tex.App.-Amarillo 1999, pet.
refused).  Further reference to a Rule of Appellate Procedure will be by reference to
"TRAP___"; a Rule of Evidence will be referred to as "TRE___."

